                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re                                                  Chapter 11

ALLEGIANCE COAL USA LIMITED,                           Case No. 23-10234 (CTG)
et al.,
                                                       Joint Administration Requested
                       Debtors.1


     MOTION OF THE DEBTORS FOR ENTRY OF AN INTERIM ORDER (I)
     AUTHORIZING DEBTORS TO (A) CONTINUE THEIR EXISTING CASH
MANAGEMENT SYSTEM, (B) MAINTAIN THEIR BANK ACCOUNTS AND EXISTING
    BUSINESS FORMS, (C) IMPLEMENT CHANGES TO THE EXISTING CASH
   MANAGEMENT SYSTEM AS NECESSARY, AND (D) CONTINUE ORDINARY
  COURSE INTERCOMPANY TRANSACTIONS, (II) EXTENDING THE TIME TO
   COMPLY WITH THE REQUIREMENTS OF 11 U.S.C. § 345(b) AND THE U.S.
 TRUSTEE’S OPERATING GUIDELINES, AND (III) GRANTING RELATED RELIEF

               The above-captioned debtors and debtors in possession (collectively, the

“Debtors”) move (the “Motion”) as follows:

                                      RELIEF REQUESTED

               1.      The Debtors request entry of an order, substantially in the form attached

hereto as Exhibit A (the “Proposed Order”), (i) authorizing, but not directing, the Debtors to (a)

continue their existing cash management system, (b) maintain their existing bank accounts and

business forms, (c) implement any changes to the existing cash management system as the

Debtors deem necessary or appropriate, including, without limitation, opening new bank

accounts or closing existing bank accounts, and (d) continue ordinary course Intercompany

Transactions (as defined below); (ii) extending the Debtors’ time to comply with the


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        The Debtors in these cases, along with the last four digits of each Debtor’s federal EIN, are as
        follows: Allegiance Coal USA Limited (1324); New Elk Coal Holdings LLC (1314); New Elk
        Coal Company LLC (0615); and Black Warrior Minerals, Inc. (6486). The Debtors’ mailing
        address for purposes of these chapter 11 cases is 12250 Highway 12, Weston, CO 81091.
requirements of section 345(b) of the Bankruptcy Code and the operating guidelines (the “U.S.

Trustee Guidelines”) established by the Office of the United States Trustee (the “U.S. Trustee”)

on an interim basis; and (iii) granting any related relief that is necessary to carry out the

foregoing or continued operation of the cash management system, or is otherwise appropriate

under the circumstances.

                                       JURISDICTION

              2.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware dated as of February 29, 2012. This is a core proceeding

under 28 U.S.C. § 157(b). Venue of these cases and the Motion is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

              3.      The Debtors consent pursuant to rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”) to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

              4.      The statutory bases for the relief requested herein are sections 105(a),

345(b) and 363(c)(1) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (as amended,

the “Bankruptcy Code”), as supplemented by rules 2015, 6003 and 6004 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rules 2015-2 and 9013-1(m).

                                      BACKGROUND

              5.      On February 21, 2023 (the “Petition Date”), the Debtors each commenced

a voluntary case under chapter 11 of the Bankruptcy Code in this Court. The Debtors have


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sought joint administration of their chapter 11 cases for procedural purposes. The Debtors are

operating their businesses as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee, examiner, or official committee has been appointed in these cases.

               6.      The Debtors’ core business is mining and processing metallurgical coal for

export to steel mills on the seaborne market. The Debtors operate two coal mines in the United

States, and are also advancing a development project for an additional mine in British Columbia.

Through both underground and surface mining methods, the Debtors extract met coal—also

known as metallurgical, steelmaking or coking coal—for use in steel production.                Once

extracted, the Debtors transfer their coal to various ports in the United States for exporting to the

global seaborne market.

               7.      Additional detail regarding the Debtors, their business, the events leading

to the commencement of these cases, and the facts and circumstances supporting the relief

requested herein is set forth in the Declaration of Jonathan Romcke in Support of Emergency

Relief (the “Romcke Declaration”), filed concurrently herewith and incorporated herein by

reference.

                            THE CASH MANAGEMENT SYSTEM

               8.      The Debtors maintain cash management systems (the “Cash Management

System”) for Debtors Allegiance Coal USA Limited (“ACUSA”), Black Warrior Minerals, Inc.

(“BWM”) and New Elk Coal Company LLC (“NECC”) to collect, transfer, manage and disburse

funds generated and used in their operations. The Cash Management System comprises 7 bank

accounts (collectively, along with any bank accounts the Debtors may open in the ordinary

course of business, the “Bank Accounts”), maintained at 3 banks: BMO Harris Bank, N.A.

(“BMO”), InBank, and Servis 1st Bank (“Servis”) (collectively, the “Banks”).




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               9.      The Cash Management System is managed by the Debtors out of their

offices in Weston, Colorado, for their NECC operations and Birmingham, Alabama, for their

BWM operations, and all funds in the Bank Accounts are denominated and held in U.S. Dollars.

The Debtors maintain daily oversight of the Cash Management System and implement cash

management controls for entering, processing, and releasing funds. Additionally, the Debtors

regularly reconcile books and records to ensure that all transfers are accounted for properly.

I.       The Bank Accounts

               10.     Debtor ACUSA operates its cash management system through one Bank

Account at BMO; Debtor BWM operates its cash management system through four Bank Accounts—

one at BMO and three at Servis; and Debtor NECC operates its cash management system through

two Bank Accounts—one at BMO and one at InBank. Debtor New Elk Coal Holdings LLC does

not maintain any Bank Accounts.

               11.     A schedule of the Bank Accounts, including the last four digits of each

Bank Account number, the name of the Debtor that holds the account, and the Bank at which the

account is held, is attached as Exhibit 1 to the Proposed Order. The following table summarizes

the nature and purposes of the Bank Accounts:

                                              BMO

         Account(s)                              Description of Account(s)
 NECC Operating             The Debtors maintain an operating account at BMO in the name of
 Account                    NECC (the “NECC Operating Account”), in which funds generated
                            by the Debtors’ operations at NECC are deposited and held. The
                            NECC Operating Account is also funded at times by funds held in
 Account ending in
                            the Intermediary Account (defined below). The NECC Operating
 250-5                      Account disburses funds on account of NECC’s operating
                            expenses, accounts payable, and payroll, payroll taxes, and other
                            withholding obligations that do not need to be paid by check. The
                            NECC Operating Account also disburses funds to the Intermediary
                            Account on account of intercompany transactions. The NECC
                            Operating Account also funds the NECC Check Account (defined


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                         below) to satisfy NECC’s operating expenses, accounts payable,
                         and payroll, payroll taxes, and other withholding obligations that
                         must be paid by check.

                         As of the Petition Date, the balance of the NECC Operating
                         Account is approximately $984,500.
Intermediary Account     The Debtors maintain an intermediary account (the “Intermediary
                         Account”) at BMO in the name of ACUSA to facilitate
                         intercompany transactions between and among NECC, BWM, and
Account ending in
                         the Debtors’ non-debtor parent company, Allegiance Coal Limited
450-8                    (“AHQ”). The account is funded by transfers from the NECC
                         Operating Account, BWM Operating Account and accounts of
                         AHQ sufficient to cover the intercompany transactions.

                         As of the Petition Date, the balance of the Intermediary Account is
                         approximately $20,500.
Inactive Account         The Debtors maintain an inactive bank account at BMO in the
                         name of BWM, which does not hold a balance as of the Petition
                         Date and has never held more than a nominal balance, if any.
Account ending in
270-7
                                         InBank

        Account(s)                           Description of Account(s)
NECC Check Account       The Debtors maintain an operating account at InBank in the name
                         of NECC to fund disbursements on account of NECC’s operating
                         expenses, accounts payable, and payroll, payroll taxes, and other
Account ending in 5814
                         withholding obligations that must be paid by check (the “NECC
                         Check Account”). The account is funded by transfers from the
                         NECC Operating Account sufficient to cover obligations drawn on
                         the NECC Check Account.

                         As of the Petition Date, the balance of the NECC Check Account is
                         approximately $86,000.

                                         Servis


        Account(s)                           Description of Account(s)

BWM Depository           The Debtors maintain a depository account at Servis in the name of
Account                  BWM (the “BWM Depository Account”), in which funds generated
                         by the Debtors’ operations at BWM are deposited and held. The
                         BWM Depository Account is also funded at times by funds held in
Account ending in 6792
                         the Intermediary Account. The BWM Depository Account funds


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                            the BWM Operating Account (defined below) and BWM Payroll
                            Account (defined below) to satisfy BWM’s operating expenses,
                            accounts payable, and payroll, payroll taxes, and other withholding
                            obligations. The BWM Depository Account also disburses funds to
                            the Intermediary Account on account of intercompany transactions.

                            As of the Petition Date, the balance of the BWM Depository
                            Account is approximately $568,300.
 BWM Operating              The Debtors maintain an operating account at Servis in the name of
 Account                    BWM (the “BWM Operating Account”) to fund disbursements on
                            account of BWM’s operating expenses, accounts payable, and
                            withholding obligations other than on account of garnishments.
 Account ending in 6768
                            The account is funded by transfers from the BWM Depository
                            Account sufficient to cover obligations drawn on the BWM
                            Operating Account.

                            As of the Petition Date, the balance of the BWM Operating
                            Account is approximately $48,700.
 BWM Payroll Account        The Debtors maintain a payroll account at Servis in the name of
                            BWM (the “BWM Payroll Account”) to fund disbursements on
                            account of BWM’s payroll and garnishment obligations. The
 Account ending in 8390
                            account is funded by transfers from the BWM Depository Account
                            sufficient to cover obligations drawn on the BWM Payroll
                            Account.

                            As of the Petition Date, the balance of the BWM Payroll Account is
                            approximately $22,000.

II.    Service Charges.

              12.     In the ordinary course of business, the Banks charge, and the Debtors pay,

honor or allow deduction from the appropriate account, certain service charges, fees and other

costs and expenses associated with maintaining the accounts in accordance with the applicable

agreements or schedules of fees governing the Bank Accounts (collectively, the “Service

Charges”). As of the Petition Date, the Debtors do not believe they have any accrued but unpaid

Service Charges that will become due in the first two weeks of these chapter 11 cases.




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III.   Funds Flow within the Cash Management System

              13.     The Cash Management System generally facilitates the following principal

cash management functions: (a) cash collection and (b) disbursements to fund the Debtors’

operations. While certain intercompany transfers may occur on an ad hoc basis between the

Debtors, the Debtors currently maintain two separate systems within the larger Cash

Management System—one at NECC and one at BWM.

              14.     With respect to NECC, receipts from NECC’s operations are deposited

and held in the NECC Operating Account. In the ordinary course of business, the Debtors make

disbursements on account of NECC’s operating expenses, accounts payable, and payroll, payroll

taxes, and other withholding obligations that do not need to be paid by check from the NECC

Operating Account. Cash from the NECC Operating Account funds the NECC Check Account

to satisfy NECC’s operating expenses, accounts payable, and payroll, payroll taxes, and other

withholding obligations that must be paid by check.

              15.     With respect to BWM, receipts from BWM’s operations are deposited and

held in the BWM Depository Account.         The BWM Depository Account funds the BWM

Operating Account and BWM Payroll Account. In the ordinary course of business, the Debtors

make disbursements on account of BWM’s operating expenses, accounts payable, and

withholding obligations other than on account of garnishments from the BWM Operating

Account and disbursements on account of BWM’s payroll and garnishment obligations from the

BWM Payroll Account.

IV.    Intercompany Transactions

              16.     In the ordinary course of business, the Debtors engage in intercompany

transactions on an ad hoc basis using ACUSA as the intermediary that facilitates such

transactions (the “Intercompany Transactions”) related to, among other things, certain accounts


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payable at the Debtors’ operating entities (the “Intercompany Claims”). The Intercompany

Transactions and Intercompany Claims are detailed in the Debtors’ accounting ledgers and

reconciled on a regular or, at a minimum, monthly basis. The Debtors will continue to maintain

such records of the intercompany accounts in connection with the Intercompany Transactions,

including records of all intercompany accounts receivable and payable to the extent applicable.

V.        Existing Business Forms

                17.    The Debtors use a variety of business forms in the ordinary course of

business, including, among others, checks, invoices and letterhead (the “Business Forms”). To

minimize expenses and disruption, the Debtors seek authority to continue to use all Business

Forms in substantially the form used immediately before the Petition Date, without reference to

the Debtors’ status as debtors in possession. The Debtors will communicate with the various

vendors and counterparties with whom the Debtors conduct business to notify them of the

commencement of these cases, which the Debtors believe will provide adequate notice of the

Debtors’ status as debtors in possession. In accordance with Local Rule 2015-2(a), to the extent

the Debtors exhaust their existing supply of checks during these cases and require new checks,

the Debtors will order checks with a notation indicating the designation “debtor in possession”

and the lead case number of these cases.

                                     BASIS FOR RELIEF

I.        The Court should approve the Debtors’ request to continue to utilize their Cash
          Management System, including authorizing continued use of existing Bank
          Accounts and implementing changes to the Cash Management System.

                18.    The U.S. Trustee Guidelines require debtors in possession to, among other

things:

                 a.     establish one debtor in possession bank account for all estate
                        monies required for the payment of taxes, including payroll
                        taxes;


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                b.      close all existing bank accounts and open new debtor in
                        possession accounts;

                c.      maintain a separate debtor in possession account for cash
                        collateral; and

                d.      obtain checks that bear the designation “debtor in possession”
                        and reference the bankruptcy case number and type of account
                        on such checks.

               19.    These requirements are designed to provide a clear line of demarcation

between prepetition and postpetition claims and payments and help protect against the

inadvertent payment of prepetition claims by preventing banks from honoring checks drawn

before the Petition Date. Considering, however, that the Debtors’ business and financial affairs

are complex and require the collection, disbursement and movement of funds through their Bank

Accounts, enforcement of the provisions of the U.S. Trustee Guidelines during these chapter 11

cases would severely disrupt the Debtors’ operations. Accordingly, the Debtors respectfully

request that the Court allow them to operate each of their Bank Accounts as they were

maintained in the ordinary course of business before the Petition Date.

               20.    Continuing the Cash Management System is permitted pursuant to section

363(c)(1) of the Bankruptcy Code, which authorizes the debtor in possession to “use property of

the estate in the ordinary course of business without notice or a hearing.” Additionally, courts in

this and other districts have recognized that an integrated cash management system “allows

efficient utilization of cash resources and recognizes the impracticalities of maintaining separate

cash accounts for the many different purposes that require cash.” In re Columbia Gas Sys., Inc.,

136 B.R. 930, 934 (Bankr. D. Del. 1992), aff’d in part and rev’d in part, 997 F.2d 1039 (3d Cir.

1993). The United States Court of Appeals for the Third Circuit has agreed, emphasizing that

requiring a debtor to maintain separate accounts “would be a huge administrative burden and

economically inefficient.” Columbia Gas, 997 F.2d at 1061; see also In re Southmark Corp., 49


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F.3d 1111, 1114 (5th Cir. 1995) (finding cash management system allows a debtor “to administer

more efficiently and effectively its financial operations and assets”).

               21.     Bankruptcy courts treat requests for authority to continue utilizing existing

cash management systems as a relatively “simple matter.” In re Baldwin-United Corp., 79 B.R.

321, 327 (Bankr. S.D. Ohio 1987). In In re Charter Co., 778 F.2d 617 (11th Cir. 1985), for

example, the bankruptcy court entered an order authorizing the debtor and certain of its

subsidiaries “to continue to consolidate the management of their cash as has been usual and

customary in the past, and to transfer monies from affiliated entity to entity, including operating

entities that are not debtors.” Id. at 620. The Eleventh Circuit Court of Appeals then affirmed a

subsequent district court decision denying a creditor’s motion for leave to appeal the bankruptcy

court’s cash management order, holding that authorizing the debtors to utilize their prepetition

“routine cash management system” was “entirely consistent” with applicable provisions of the

Bankruptcy Code. Id. at 621. Indeed, in large chapter 11 cases, bankruptcy courts in this Circuit

routinely grant chapter 11 debtors similar authority to continue using existing cash management

systems.

               22.     Here, the Debtors utilize the Cash Management System in its current form

as part of their ordinary and usual business practices, and as such, the Debtors believe the

continued use of the Cash Management System falls within the purview of ordinary course

transactions permitted under section 363(c)(1) of the Bankruptcy Code. Moreover, appropriate

circumstances exist for the Court to authorize the Debtors’ continued use of the Cash

Management System under sections 363(b)(1) and 105(a) of the Bankruptcy Code. Furthermore,

the Debtors have in place internal controls and procedures to prohibit payments on account of

prepetition debts and to account for intercompany transactions within their Cash Management




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System and Bank Accounts. Disrupting the current Cash Management System and forcing the

Debtors to create new bank accounts would unnecessarily complicate such controls and

procedures. In light of existing protective measures, the Debtors submit that maintaining the

Cash Management System will benefit parties in interest and is in the best interests of the

Debtors’ estates and creditors.

               23.     Additionally, the relief requested in this Motion will help minimize any

disruption in the Debtors’ business operations during these chapter 11 cases and preserve the

value of the Debtors’ estates. Indeed, any disruptions in the Cash Management System could

lead to delays in satisfying the Debtors’ obligations to their vendors and suppliers and meeting

the demands of customers. To avoid the potential erosion of value that could ensue from any

such interruptions in the Debtors’ ordinary course business operations, the Debtors believe it is

imperative that they be authorized to continue the Cash Management System and use of the Bank

Accounts.

               24.     Strict adherence to the U.S. Trustee Guidelines would be burdensome to

the Debtors and their management, and reduce efficiencies and cause unnecessary expense. The

delays that would result from opening the new accounts and revising cash management

procedures would disrupt the Debtors’ business operations at this critical time, have little or no

benefit to the Debtors’ estates, and erode the value of the Debtors’ enterprise to the detriment of

all stakeholders.

               25.     For these reasons, the Debtors should be allowed to continue using the

Cash Management System and Bank Accounts consistent with historical practice.

               26.     The Debtors further request that the Court grant further relief from the

U.S. Trustee Guidelines to the extent they require the Debtors to make all disbursements by




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check. In particular, the U.S. Trustee Guidelines require that all receipts and all disbursements

of estate funds must be made by check with a notation representing the reason for the

disbursement. In the ordinary course of business, the Debtors conduct transactions through

ACH, wire transfer and other similar methods. If the Debtors’ ability to conduct transactions

according to historical practice is impaired, the Debtors may be unable to timely perform under

certain contracts, the Debtors could incur penalties and fines with taxing authorities, their

business operations may be unnecessarily disrupted, and their estates will incur additional costs.

Accordingly, the Debtors submit that they should be allowed to continue utilizing all existing

payment methods.

II.    The Court should authorize the Debtors to continue using their existing Business
       Forms.

               27.    The U.S. Trustee Guidelines require a debtor in possession to immediately

obtain new checks printed with the designation “debtor in possession” and the corresponding

number of the lead bankruptcy case. To avoid unnecessary expense and further disruption of the

Cash Management System, the Debtors request authorization to continue to use their existing

Business Forms substantially in the forms existing immediately before the Petition Date, without

reference to their status as debtors in possession. The Debtors will communicate with the

various vendors and counterparties with whom the Debtors conduct business to notify them of

the commencement of these cases, which the Debtors believe will provide adequate notice of the

Debtors’ status as debtors in possession. Furthermore, in accordance with Local Rule 2015-2(a),

to the extent the Debtors exhaust their existing supply of checks during these cases and require

new checks, the Debtors will order checks with a notation indicating the designation “debtor in

possession” and the lead case number of these cases. In light of these steps, the Debtors submit




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that parties in interest will not be prejudiced if the Debtors are authorized to continue to use their

Business Forms substantially in the form existing immediately before the Petition Date.

III.   The Court should authorize the Debtors to continue Intercompany Transactions in
       the ordinary course of business and afford administrative expense priority to such
       Intercompany Transactions.

               28.     Intercompany Transactions are made between the Debtors on an ad hoc

basis in the ordinary course of business as part of the Cash Management System to fund certain

accounts payable and other operating expenses of the Debtors’ operating entities.2 The Debtors

track the Intercompany Transactions on their accounting ledgers and can ascertain, trace, and

account for the Intercompany Transactions.

               29.     The Debtors respectfully submit that the continued performance of the

Intercompany Transactions is in the best interest of the Debtors’ estates and creditors, and,

therefore, the Debtors should be permitted to continue performing such Intercompany

Transactions. Since these transactions represent extensions of intercompany credit made in the

ordinary course of business, the Debtors respectfully request the authority to continue conducting

the Intercompany Transactions in the ordinary course of business without need for further Court

order. Moreover, the Debtors respectfully request that all postpetition payments between or

among a Debtor and another Debtor be accorded administrative expenses status to ensure that

each Debtor will not permanently fund the operations of any affiliate Debtor.

IV.    The Court should extend the Debtors’ time to comply with the requirements of
       section 345(b) of the Bankruptcy Code on an interim basis.

               30.     Section 345(a) of the Bankruptcy Code authorizes deposit or investment of

the money of the estate, such as cash, as “will yield the maximum reasonable net return on such

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       The Debtors submit the Intercompany Transactions are ordinary course transactions within the
       meaning of section 363(c)(1) of the Bankruptcy Code and, thus, do not require the Court’s
       approval. Nonetheless, out of an abundance of caution, the Debtors are seeking authority to
       engage in such transactions on a postpetition basis.


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money, taking into account the safety of such deposit or investment.” 11 U.S.C. § 345(a). While

section 345(a) requires that with respect to deposits and investments that are not “insured or

guaranteed by the United States or by a department, agency or instrumentality of the United

States or backed by the full faith and credit of the Unites States,” the estate must require a bond

in favor of the United States secured by the undertaking of a U.S. Trustee-approved corporate

surety, section 345(b) permits the court to dispense with this undertaking “for cause.” 11 U.S.C.

§ 345(b); see also In re Serv. Merch. Co., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999) (quoting

the 1994 amendments to the Bankruptcy Code which explained that the new amendments to the

Code would allow the courts to approve investments other than those permitted by section 345(b)

for just cause).

                   31.   In Service Merchandise, the court identified the following factors for

determining whether cause to waive the requirements of section 345(b) exists: (i) the

sophistication of the debtor’s business; (ii) the size of the debtor’s business operations; (iii) the

amount of investments involved; (iv) the bank ratings of the financial institutions where the

debtor’s funds are held; (v) the complexity of the case; (vi) the safeguards in place within the

debtor’s own business for insuring the safety of the funds; (vii) the debtor’s ability to reorganize

in the face of a failure of one or more of the financial institutions; (viii) the benefit to the debtor

of current practices; (ix) the harm, if any, to the estate; and (x) the reasonableness of the debtor’s

request for relief from the section 345(b) requirements in light of the overall circumstances of the

case. Serv. Merch., 240 B.R. at 896–97.

                   32.   With respect to the Bank Accounts held at BMO, the Debtors believe they

are in compliance with the requirements of section 345(b) because BMO Harris Bank of

Montreal is a U.S. Trustee-approved depository institution. However, the Debtors request (i) a




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75-day extension of time to comply with the deposit and investment requirements of section

345(b) without prejudice to the right to seek a further extension, (ii) that the Banks be authorized

and directed to accept and hold such funds at the Debtors’ direction, and (iii) that the Banks be

authorized and directed to honor the Debtors’ directions with respect to the opening and closing

of any Bank Account.

               33.     In light of the foregoing, the Debtors submit that cause exists for an

extension of time to comply with the requirements of Bankruptcy Code section 345(b). In

accordance with Local Rule 2015-2, the Debtors request a 75-day extension of time to comply

with the section 345 requirements.

V.     The Court should authorize the Banks to continue to maintain, service and
       administer the Debtors’ Bank Accounts in the ordinary course of business.

               34.     The Debtors submit that parties in interest will not be prejudiced or injured

by the Debtors’ maintenance of their Bank Accounts in the ordinary course of business. As

discussed above, the Debtors strongly believe that replacing the Bank Accounts with new

accounts pursuant to the U.S. Trustee Guidelines would fruitlessly disrupt their operations and

derail the Debtors’ efforts to preserve and maximize the value of their estates.

               35.     To further implement continued use of their existing Cash Management

System and Bank Accounts, the Debtors respectfully request that the Court authorize and direct

the Banks to: (i) continue to maintain, service and administer the Bank Accounts as accounts of

the Debtors as debtors in possession and provide related treasury, account and cash management

services, all without interruption and in the ordinary course of business; (ii) receive, process,

honor and pay, to the extent of available funds, any and all checks, drafts, EFT (including wires

or ACH transfers), credit card payments and other items presented, issued or drawn on the Bank

Accounts; provided, however, that any check, draft or other notification that the Debtors advise



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the Banks to have been drawn, issued or otherwise presented before the Petition Date may be

honored by the Banks only to the extent authorized by order of the Court; (iii) accept and honor

all representations from the Debtors as to which checks, drafts, EFT (including wires or ACH

transfers), credit card payments and other items presented, issued or drawn should be honored or

dishonored consistent with any order of the Court and governing law, whether such checks,

drafts, EFT (including wires or ACH transfers), credit card payments and other items are dated

before or after the Petition Date; and (iv) debit or charge the Bank Accounts for all undisputed

bank fees, whether arising before, on or after the Petition Date.

               36.     In addition, to protect the Banks, the Debtors also request that, to the

extent a Bank honors a prepetition check or other item drawn on any account that is the subject

of the Motion: (a) at the direction of the Debtors; or (b) in a good faith belief that the Court has

authorized such prepetition check or item to be honored, such Bank will not be deemed to be

liable to the Debtors or to their estates on account of such prepetition check or other item

honored postpetition. The Debtors respectfully submit that such relief is reasonable and

appropriate because the Banks are not in a position to independently verify or audit whether a

particular item may be paid in accordance with a Court order or otherwise.

               37.     The Debtors represent that if the relief requested herein is granted, they

will implement appropriate mechanisms to ensure that no payments will be made on account of

debts incurred before the Petition Date (other than those authorized by the Court). To prevent

the inadvertent, unauthorized payment of prepetition claims, the Debtors will work closely with

the Banks to ensure that appropriate procedures are in place to prevent checks that were issued

prepetition from being honored without Court approval.




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          THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

               38.     Bankruptcy Rule 6003 empowers the Court to issue an order, within 21

days after the Petition Date, granting a motion to “use . . . property of the estate, including a

motion to pay all or part of a claim that arose before the filing of the petition” if such requested

relief is “necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003(b). For

the reasons discussed above, immediate and irreparable harm would result if the relief requested

herein were not granted. Accordingly, the Debtors submits that it has satisfied the “immediate

and irreparable harm” standard of Bankruptcy Rule 6003 to support granting the relief requested

herein.

                 WAIVER OF BANKRUPTCY RULES 6004(a) and 6004(h)

               39.     To implement the foregoing successfully, the Debtors seek a waiver of the

notice requirements under Bankruptcy Rule 6004(a) and any stay of an order granting the relief

requested herein pursuant to Bankruptcy Rule 6004(h), 7062, 9014 or otherwise for all of the

reasons described above.




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                                 RESERVATION OF RIGHTS

               40.     Nothing contained herein is intended or shall be construed as: (i) an

admission as to the validity, amount or priority of any claim against the Debtors; (ii) a waiver of

the Debtors’ rights to dispute any claim; (iii) a promise or requirement to pay any claim; (iv) a

waiver of any claim or cause of action of the Debtors that exist against any entity; (v) a

ratification or assumption of any agreement, contract or lease under section 365 of the

Bankruptcy Code; (vi) a waiver of limitation of the Debtors’ rights under the Bankruptcy Code,

any other applicable law, or any agreement; or (vii) an admission or concession by the Debtors

that any lien acknowledged or satisfied under this Motion is valid, and the Debtors expressly

reserve and preserve their rights to contest the extent, validity, or perfection, or seek avoidance

of, any such lien.

                                             NOTICE

               41.     Notice of this Motion is being provided to: (a) the Office of the United

States Trustee for the District of Delaware; (b) Collins St, as Debtors’ prepetition secured lender;

(c) Cline Mining Corporation; (d) the Debtors’ banks; (e) the Securities and Exchange

Commission; (f) the Internal Revenue Service; (g) the United States Attorney’s Office for the

District of Delaware; and (h) any party that has requested notice pursuant to Bankruptcy Rule

2002. In light of the relief requested, the Debtors submit that no further notice need be given.3




3
       The Debtors have not yet filed a list of their top 20 unsecured creditors pursuant to Bankruptcy
       Rule 1007(d) (the “Top 20 List”) and therefore have not served this Motion on the Top 20 List.
       The Debtors intend to file the Top 20 List as soon as possible.


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                                        CONCLUSION

               WHEREFORE the Debtors respectfully request that the Court enter the Proposed

Order granting the relief requested in this Motion, and such other and further relief as the Court

may deem just and appropriate.

 Dated: February 22, 2023                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        Wilmington, Delaware


                                          /s/ Paige N. Topper
                                          Robert J. Dehney (No. 3578)
                                          Matthew B. Harvey (No. 5186)
                                          Paige N. Topper (No. 6470)
                                          Taylor M. Haga (No. 6549)
                                          Evanthea Hammer (No. 7061)
                                          1201 N. Market Street, 16th Floor
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 658-9200
                                          Facsimile: (302) 658-3989
                                          rdehney@morrisnichols.com
                                          mharvey@morrisnichols.com
                                          ptopper@morrisnichols.com
                                          thaga@morrisnichols.com
                                          ehammer@morrisnichols.com

                                          Proposed Counsel to the Debtors and
                                          Debtors in Possession




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